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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

APPALACHIAN REGIONAL HEALTHCARE,                           )
INC.,                                                      )
                                                           )        Case No. _______________
                 Plaintiff,                                )
                                                           )
        v.                                                 )
                                                           )
U.S. NURSING CORP.,                                        )
                                                           )
                 Defendants.                               )
                                                           )

                               PLAINTIFF’S MOTION TO COMPEL

        Petitioner Appalachian Regional Healthcare, Inc. (“ARH”) hereby moves the Court,

pursuant to Rules 37 and 45, Fed. R. Civ. P., to compel Respondents Nautilus Insurance

Company (“Nautilus”) and its agent, John Henry (“Henry”), to produce certain documents

requested by its November 28, 2016 Subpoenas to Nautilus and to Henry. ARH is the plaintiff in

a lawsuit pending in the United States District Court for the Eastern District of Kentucky,

Appalachian Regional Healthcare, Inc. v. U.S. Nursing Corporation, Case No. 7:14-cv-122-

ART-EBA (“the Kentucky indemnity action”).                 The subpoenas it seeks to enforce in this

miscellaneous action were issued in the Kentucky indemnity action and duly served upon

APPAa;;Nautilus and Henry, who are third-parties to the action and who reside in this district.1

        Copies of these Subpoenas are attached as Exhibits A and B to this Motion. A copy of

Nautilus’ December 12, 2016 Objections, by which Nautilus objected to each and every one of

ARH’s eight requests and refused to produce even a single document, is attached as Exhibit C.

A copy of Henry’s December 14, 2016 Objections, in which Henry objected to each and every


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  The parties have agreed that the subpoena requesting documents from Nautilus is properly directed to Nautilus
through its agent, John Henry, at Berkley Select. Both Henry and Berkley Select are located in this District.
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one of ARH’s three Requests and refused to produce even a single document, is attached as

Exhibit D. A copy of ARH’s December 14, 2016 “meet and confer” letter, by which ARH

proposed to substantially narrow its original requests to Nautilus, is attached as Exhibit E. A

copy of ARH’s December 16, 2016 “meet and confer” correspondence, by which ARH proposed

to substantially narrow its original requests to Henry, is attached as Exhibit F.

       To date, Nautilus and Henry remain unwilling to produce any documents. For the

reasons set forth in ARH’s Memorandum of Law, filed contemporaneously herewith, Nautilus’

and Henry’s objections to ARH’s requests, as modified, should be overruled, and Nautilus and

Henry should be ordered to produce the documents sought by those modified requests.



Dated: December 21, 2016

                                       Respectfully submitted,

                                       /s/ Timothy J. Patenode
                                              One of Plaintiff’s Attorneys

                                       Barry D. Hunter (Pro Hac Vice Application Pending)
                                       FROST BROWN TODD LLC
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                                       Designated Local Counsel for Plaintiff
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                             LOCAL RULE 37.2 STATEMENT

       I, counsel for the Plaintiff, Appalachian Regional Healthcare, Inc., have consulted with
counsel for Nautilus Insurance Company (“Nautilus”) and John Henry (“Henry”), in a good faith
attempt to resolve the disputes raised in this motion and supporting memorandum, but have not
been able to reach an accord. Specifically, I transmitted to counsel for Nautilus and Henry the
December 14, 2016 letter attached to this Motion as Exhibit E, and the December 16, 2016 email
attached to this Motion as Exhibit F. Additionally, on December 20, 2016, at approximately
11:45 a.m. CST, I consulted with Rich Hoffman of Duane Morris LLP, counsel for Nautilus and
Henry, by telephone to confer regarding the matters raised in this motion and supporting
memorandum. Again, we could not reach an accord.


                                           /s/ Barry D. Hunter
                                           Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE

       I certify that I caused a true and accurate copy of the foregoing PLAINTIFF’S MOTION

TO COMPEL, and any attachments and exhibits thereto, to be served upon the parties listed

below by transmitting such documents to the Federal Express delivery service before the hour of

8:30 p.m. on this 21st day of December, 2016, for priority overnight delivery, and via email

transmission to the email addresses set out below:

Richard D. Hoffman                           Byron N. Miller
Duane Morris LLP                             Thompson Miller & Simpson
Spear Tower                                  734 West Main Street, Suite 400
One Market Plaza, Suite 2200                 Louisville, KY 40202
San Francisco, CA 94105-1127                 Email: bmiller@tmslawplc.com
Email: rhoffman@duanemorris.com              Counsel for U.S. Nursing Corp.
Counsel for Nautilus Insurance Co.
and John Henry




                                             /s/ Timothy J. Patenode
                                             Attorney for Plaintiff
